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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION
                           Case No: 1:18-cv-103

MARY SINGLETON,                      )
                                     )
                                     )
             Plaintiff,              )
                                     )
v.                                   )
                                     )
                                     )
CARETENDERS VISITING                 )
SERVICES OF GAINESVILLE, LLC, )
a Florida limited liability company, )
d/b/a MEDERI CARETENDERS a/k/a )
CARETENDERS, and NATIONAL )
HEALTH INDUSTRIES, INC., a           )
Kentucky corporation,                )
                                     )
             Defendants.             )
                                     )

         JOINT MOTION TO APPROVE SETTLEMENT AND
   STIPULATION FOR VOLUNTARY DISMISSAL WITH PREJUDICE

      Plaintiff Mary Singleton (“Plaintiff”) and Defendants Caretenders Visiting

Services of Gainesville, LLC and National Health Industries, Inc. (collectively,

“Defendants”) jointly move the Court for approval of the mutually agreed upon

terms and conditions of settlement of Plaintiff’s claims against Defendants under

the Fair Labor Standards Act of 1938 (“FLSA”), 29 U.S.C. § 201, et seq., which

terms include dismissal of this action with prejudice. In support of this Joint

Motion, the parties stipulate as follows:
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      1.     Plaintiff filed the instant action against Defendants alleging violations

of the overtime provisions of the FLSA.

      2.     In defending against the action, Defendants deny violating the FLSA

and have asserted that Plaintiff’s claims for damages are barred by multiple

defenses.

      3.     As a result of the litigation, the parties have a bona fide dispute about

numerous factual and legal issues, including but not limited to the following: how

many, if any, hours of overtime Plaintiff worked for which she was not properly

compensated; the appropriate measure of Plaintiff’s damages, if any; and whether

Plaintiff is entitled to liquidated damages.

      4.     In an effort to avoid the expenses of litigation and with no admission

of liability by Defendants, the parties have negotiated a settlement and

memorialized their agreement in the Settlement Agreement and General Release

(“Settlement Agreement”) that is attached hereto as Exhibit A.

      5.     Plaintiff acknowledges and represents that pursuant to the Settlement

Agreement, she is being paid all wages that she claims are owed to her and that she

is not owed any other damages for unpaid wages. Plaintiff also acknowledges and

agrees that the amounts paid to her adequately and fairy compensate her for the

damages she claims to have suffered.




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      6.     The parties jointly agree that the Settlement Agreement is a fair and

reasonable resolution of a bona fide dispute regarding Plaintiff’s claims under the

FLSA, such that this Court should approve the Agreement. See Lynn’s Food Store,

Inc. v. United States, 679 F.2d 1350, 1353 (11th Cir. 1982) (explaining that while

compromises under the FLSA are typically prohibited, the district court may enter

a stipulated judgment in a private action for back wages under the FLSA after the

district court has scrutinized the settlement for fairness); Sapp v. Linked Commc'ns,

No. 3:12CV245/MCR/EMT, 2014 WL 1584491, at *2 (N.D. Fla. Mar. 13, 2014)

(finding the terms of a settlement agreement to be fair and in furtherance of the

implementation of FLSA rights in the workplace, and therefore recommending that

the motion for approval of settlement be granted), report and recommendation

adopted, No. 3:12CV245/MCR/EMT, 2014 WL 1584497 (N.D. Fla. Apr. 21,

2014); Bonnin v. Bryan I. Gerstenberg, D.D.S., P.A., No. 3:10CV188-MCR/EMT,

2011 WL 13232590, at *2 (N.D. Fla. Aug. 5, 2011) (approving settlement

agreement after finding the terms to be fair and reasonable to employees).

      7.     The parties further agree that, upon the Court’s approval of this Joint

Motion, this action will be dismissed with prejudice, with each party to pay its own

costs and attorneys’ fees, except as otherwise set forth in the parties’ Settlement

Agreement.




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      WHEREFORE, the parties respectfully request that this Honorable Court

enter an Order approving the Settlement Agreement, finding that the Settlement

Agreement is a fair and reasonable resolution of this matter, and dismissing this

action with prejudice.



      Respectfully submitted, this 20th day of August, 2018.

/s/ Kenneth M. Hesser                       /s/ Brett E. Coburn
Kenneth M. Hesser                           Brett E. Coburn
Florida Bar No. 0375720                     Georgia Bar No. 171094
SCHATT HESSER MCGRAW                        ALSTON & BIRD LLP
328 NE 1st Avenue, Suite 100                1201 West Peachtree Street
Ocala, Florida 34470                        Atlanta, Georgia 30309-3424
Telephone: (352) 789-6520                   Telephone: (404) 881-7000
Facsimile: (352) 789-6570                   Facsimile: (404) 881-7777
E-mail: khesser@schatthesser.com            E-mail: brett.coburn@alston.com

ATTORNEYS FOR             PLAINTIFF ATTORNEYS FOR DEFENDANTS
MARY SINGLETON                      CARETENDERS       VISITING
                                    SERVICES OF GAINESVILLE,
                                    LLC, and NATIONAL HEALTH
                                    INDUSTRIES, INC.




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                          CERTIFICATE OF SERVICE

      I hereby certify that on August 20, 2018, I filed the foregoing JOINT

MOTION       TO    APPROVE        SETTLEMENT         AND     STIPULATION   FOR

VOLUNTARY DISMISSAL WITH PREJUDICE with the Clerk of the Court

using the CM/ECF system, which will serve a copy of the foregoing to the

following attorneys of record for Plaintiff:

                                 Kenneth M. Hesser
                                 Brian T. Anderson
                                 SCHATT HESSER McGRAW
                                 P.O. Box 4440
                                 Ocala, Florida 34478


      This 20th day of August 2018.


                                               /s/ Brett E. Coburn
                                               Brett E. Coburn
